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              Plaintiffs’ Exhibit 28
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                                    HIGHLY CONFIDENTIAL

                                                                         Page 1

   1                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF VIRGINIA

   2                          ALEXANDRIA DIVISION

   3

   4       UNITED STATES OF AMERICA, et al.,

   5                  Plaintiffs,

   6                                                 Case No. 1:23-cv-00108

   7                        v.

   8                                                 HON. LEONIE H. M. BRINKEMA

   9       GOOGLE LLC,

  10                  Defendant.

           ______________________________________________________________

  11

  12                          HIGHLY CONFIDENTIAL

  13       VIDEOTAPED DEPOSITION OF :

  14                      GABRIEL WEINTRAUB, PH.D.,

  15       was held on Thursday, February 28, 2024, commencing at 9:49

  16       a.m., at the Department of Justice, 450 Fifth Street,

  17       Northwest, Washington, D.C. 20530, reported by Jeaninn Alexis,

  18       Notary Public.

  19

  20

  21

  22          Job No. CS6464582



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                                                                   Page 268

   1                   BY MR. EWALT:

   2              Q    But doesn't your First Look model assume

   3       that publishers have the ability to do -- to solve an

   4       optimization problem using the same information that

   5       they would need to solve the multistep approach

   6       optimization problem?

   7                   MS. HANSEN:      Object to the form.

   8                   THE WITNESS:      So, what I'm saying is that,

   9       in my assumption, the -- the exchange, in the top, is

  10       solving a simpler optimization problem.              So, there is

  11       some optimization going on, but it's a simpler

  12       optimization problem than if you were to assume this

  13       multiple-step forward-looking behavior.              In my opinion,

  14       that simpler optimization problem is based on the

  15       evidence.    So, it's closer to reality relative to the

  16       more sophisticated optimization problem.

  17                   MR. EWALT:     All right.         Let's take a break.

  18       Go off the record.

  19                   THE VIDEOGRAPHER:         We're now off record at

  20       6:26 p.m.

  21                   (Short recess taken.)

  22                   THE VIDEOGRAPHER:         We're now back on the




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   1       record at 6:37 p.m.

   2                   You may proceed.

   3                   BY MR. EWALT:

   4              Q    In your reports, did you offer any opinion

   5       about the effects of Google's acquisition of

   6       DoubleClick?

   7                   MS. HANSEN:      Object to the form.

   8                   THE WITNESS:      I did not offer an opinion on

   9       Google's acquisition.        I discuss it -- let me be

  10       more precise.     I discuss, I mention it, and --

  11       and then, you know, the -- the role it played on

  12       Google acquiring the -- the exchange, the ad server.

  13       And -- and then I offer an opinion on the

  14       exclusivities that follow, the restrictions that

  15       follow.    So, it's -- you know, the acquisition is --

  16       is -- is -- is -- is -- is described in my report, and

  17       I guess it's related to some of the things I -- I --

  18       I -- I -- I -- I describe.

  19                   BY MR. EWALT:

  20              Q    In your reports, did you offer any opinions

  21       about the effects of Google's acquisition of Admeld?

  22                   MS. HANSEN:      Object to the form.




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   1                  THE WITNESS:    In my report, I do not believe

   2       I offer an opinion on the effects of Google's

   3       acquisitions of Admeld.

   4                  BY MR. EWALT:

   5             Q    In your reports, did you offer any opinions

   6       about the effects of Project Bernanke?

   7                  MS. HANSEN:    Object to the form.

   8                  THE WITNESS:    In my report, I discuss

   9       buy-side DRS, which is a precursor of Bernanke, to the

  10       extent that data -- scale and data provides an advantage

  11       and the denial of scale and data provides a disadvantage

  12       in implementing a buy-side and DRS-type algorithm.          So, I

  13       -- I -- I describe buy-side DRS to that extent.

  14                  BY MR. EWALT:

  15             Q    Did you offer any opinions about the effects of

  16       Project Bernanke?

  17                  MS. HANSEN:    Object to the form.

  18                  THE WITNESS:    I did not, even though I mention

  19       it as an example of how data and the lack of data can

  20       help or hurt a firm implementing buy-side DRS.         I do not

  21       offer a specific opinion on the effect of Bernanke on

  22       rivals' scale.




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                        ERRATA SHEET FOR THE TRANSCRIPT OF:

   Case Name: United States et al. v. Google LLC, No. 1:23-cv-00108 (E.D. Va.)
   Deposition Date: 2/29/2024
   Deponent: Gabriel Weintraub

    Page     Line       Change                                       Reason

    1        15         “February 28” should be “February 29”        Clarification.
    5        6          “plaintiff” should be “defendant”            Clarification.
    10       8          “being” should be “to be”                    Transcription error.
    12       5          “That” should be “And”                       Transcription error.
    35       21         “GOOG-DOJ-AT-022-04351” should be            Transcription error.
                        “GOOG-DOJ-AT-02204351”
    40       22         “10.64 percent” should be “by 10.64          Clarification.
                        percent”
    75       20         “T DRS” should be “tDRS”                     Transcription error.
    78       4          “DRS was a change of V1” should be “DRS      Clarification.
                        V2 was a change of V1”
    122      15         “spend” should be “spend everything”         Transcription error.
    124      6          “Poirotan” should be “Poirot on”             Transcription error.
    124      7          “your” should be “their”                     Transcription error.
    124      22         “drivey” should be “driven”                  Transcription error.
    133      19         “implementing in UPR” should be              Transcription error.
                        “implementing UPR”
    138      11         “impressions, which are” should be           Transcription error.
                        “impressions which are”
    145      16         “renewal” should be “removal”                Transcription error.
    154      19          “we’re” should be “we were”                 Transcription error.
    157      11          “Lee’s” should be “Israel’s”                Transcription error.
    159      4          “DV360” should be “DV360 on”                 Transcription error.
    187      2          “study” should be “studied”                  Transcription error.
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    192     5        “medium” should be “to medium”          Transcription error.
    217     16       “abstruction” should be “abstraction”   Transcription error.
    217     16       “abstruction” should be “abstraction”   Transcription error.
    226     22       “second.” should be “second, okay?”     Transcription error.
    243     11       “index” should be “Index”               Transcription error.
